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                    IN THE UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

 IN RE:                                     )   CHAPTER 11
 LILO N. BENZICRON,                         )   CASE NO. 18-11661-SDB
        Debtor.                             )


                           NOTICE OF CHANGE OF ADDRESS


 Undeliverable Address:
 Spartan Fiber
 P.O. Box 879
 Inman, SC 29349

 Reason Undeliverable: FORWARDING ORDER HAS EXPIRED

 THE UPDATED ADDRESS IS:

 Spartan Fiber
 2481 Clark Road
 Inman, SC 29349



 _/s/ James C. Overstreet, Jr. _                                   8/12/2020
 Signature of Debtor or Debtor's Attorney                          Date
